Case 3:05-cr-00024-LC Document56- Filed 04/20/05 Pageiof3

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA

PENSACOLA DIVISION
UNITED STATES OF AMERICA
SUPERSEDING
Vv. INDICTMENT
MANUEL MARTINEZ-SERUANTES,
a/k/a Jesus Morales-Cervantes, 3:05cr24-LAC
and
DOROTHY BACKHOFF
/
THE GRAND JURY CHARGES:

COUNT ONE
That from on or about J anuary 1, 2003, through the date of the return of this
indictment, in the Northern District of Florida and elsewhere, the defendants,
MANUEL MARTINEZ-SERUAN' TES,
a/k/a Jesus Morales-Cervantes
and
DOROTHY BACKHOFF

did knowingly and willfully combine, conspire, confederate, and agree together and with
other persons, to distribute and possess with intent to distribute controlled substances, in
violation of Title 21, United States Code, Section 841(a)(1), and that this offense

involved five-hundred (500) grams or more of a mixture and substance containing a

detectable amount of methamphetamine, its salts, isomers or salts of isomers, and five-

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Case 3:05-cr-00024-LC Document56 ~ Filed 04/20/05 Page 2of3

hundred (500) grams or more of a mixture and substance containing a detectable amount
of cocaine, in violation of Title 21, United States Code, Sections 841(a)(1) and
(b)(1)(A)(viii) and (6)(1)(B)(ii).
All in violation of Title 21, United States Code, Section 846.
CRIMINAL FORFEITURE

The allegations contained in Count One of this indictment are hereby re-alleged
and incorporated by reference for the purpose of alleging forfeiture pursuant to the
provisions of Title 21, United States Code, Section 853.

From their engagement in the violation alleged in Count One of this indictment,
punishable by imprisonment for more than one year, which count is re-alleged and
incorporated as if more fully set forth herein, the defendants,

MANUEL MARTINEZ-SERUAN TES,
a/k/a Jesus Morales-Cervantes
and
DOROTHY BACKHOFF
shall forfeit to the United States, pursuant to Title 21, United States Code, Sections
853(a)(1) and (2), all of their interest in:

A. Property constituting or derived from any proceeds the defendants obtained

directly or indirectly as the result of such a violation; and

B. Property used in any mamner or part to commit or to facilitate the

commission of such a violation.
Case 3:05-cr-00024-LC Document 56 - Filed 04/20/05. Page 3 of 3-

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If any of the property subject to forfeiture as a result of any act or omission of the

defendants:
A. cannot be located uion the exercise of due diligence;
B. has been transferred or sold to, or deposited with, a third person;
C. has been placed beyond the jurisdiction of this Court:
D. _ has been substantially diminished in value; or

E. has been co-mingled with other property which cannot be subdivided
without difficulty;
it is the intent of the United States, pursuant to Title 21; United States Code, Section
853(p), to seek forfeiture of any other property of said defendants up to the value of the
above forfeitable property.

All in violation of Title 21, United States Code, Section 853.

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EDWIN KNIGHT
Assistant United States Attorney.

